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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

RANDY J. MATA,

                Plaintiff,

v.                                                                CV No. 20-274 KG/CG

ANDREW SAUL, Commissioner of the
Social Security Administration,

                Defendant.


                             ORDER SETTING BRIEFING SCHEDULE

     THIS MATTER is before the Court for scheduling. IT IS HEREBY ORDERED that:

     (1)        Plaintiff shall file a Motion to Reverse or Remand to Administrative Agency
                with Supporting Memorandum on or before December 15, 2020;

     (2)        Defendant shall file a Response on or before February 16, 2021;

     (3)        Plaintiff may file a Reply on or before March 2, 2021;

     (4)        All supporting memoranda filed pursuant to this Order shall cite ONLY the
                relevant portions of the transcript or record in support of assertions of fact
                and shall cite authority in support of propositions of law; and

     (5)        All requests for extensions of time altering the deadlines set in this
                Order shall be made through a motion to the Court. If the parties concur
                in seeking an extension of time, they shall submit a stipulated proposed
                order to the Court for approval.



                                     _________________________________
                                     THE HONORABLE CARMEN E. GARZA
                                     CHIEF UNITED STATES MAGISTRATE JUDGE
